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     Attorney for Defendant
 5   David Robbie Forkner

 6

 7                    IN THE UNITED STATES DISTRICT COURT

 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )          CR NO. S-08-363 GEB
                                   )
11             Plaintiff,          )          STIPULATION AND
                                   )          [PROPOSED] ORDER CONTINUING
12        v.                       )          STATUS CONFERENCE
                                   )
13   David Forkner and             )
     Loretta Canham,               )
14                                 )
                                   )          Date:    November 19, 2010
15             Defendants.         )          Time:    9:00 a.m.
     ______________________________)          Judge:   Hon. Garland E.
16                                                     Burrell

17
            IT IS HEREBY stipulated between the United States of America
18
     through its undersigned counsel, Michael M. Beckwith, Assistant
19
     United States Attorney, together with counsel for defendant David
20
     Forkner, John R. Manning Esq., and counsel for defendant Loretta
21
     Leigh Canham, Dennis S. Waks Esq., request that the status
22
     conference currently set for November 19, 2010, be continued to
23
     January 14, 2011, and stipulate that the time beginning
24
     November 19, 2010, and extending through January 14, 2011, should
25
     be excluded from the calculation of time under the Speedy Trial
26
     Act.    The parties request to exclude time for defense
27
     preparation. This matter involves a wire intercept on several
28
                                          1
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 1   telephones and related pen registers, as well as over 3000 pages

 2   of discovery.

 3        The parties stipulate and agree that the interests of

 4   justice served by granting this continuance outweigh the best

 5   interests of the public and the defendants in a speedy trial. 18

 6   USC § 3161(h)(7)(B)(iv) and (Local T-4).

 7   IT IS SO STIPULATED.

 8

 9   Dated: November 16, 2010                   /s/ John R. Manning
                                              JOHN R. MANNING
10                                            Attorney for Defendant
                                              David Robbie Forkner
11

12   Dated: November 16, 2010                /s/ John R. Manning for
                                           DENNIS S. WAKS
13                                         Attorney for Defendant
                                           Loretta Leigh Canham
14

15
     Dated: November 16, 2010                 Benjamin B. Wagner
16                                            United States Attorney

17
                                        by:     /s/ John R. Manning for
18                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
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           Case 2:08-cr-00363-WBS Document 106 Filed 11/18/10 Page 3 of 3


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 4
                       IN THE UNITED STATES DISTRICT COURT
 5
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 6

 7
     UNITED STATES OF AMERICA,       ) Case No. CR.S 08-363 GEB
 8                                   )
                     Plaintiff,      )
 9                                   )
          v.                         ) ORDER
10                                   ) CONTINUING STATUS CONFERENCE
     David Forkner and               )
11   Loretta Canham,                 )
                                     )
12                                   )
                     Defendants.     )
13   _______________________________ )

14
          GOOD CAUSE APPEARING, it is hereby ordered that the
15
     November 19, 2010 status conference be continued to January 14,
16
     2011 at 9:00 a.m.     I find that the ends of justice warrant an
17
     exclusion of time and that the defendant’s need for continuity of
18
     counsel and reasonable time for effective preparation exceeds the
19
     public interest in a trial within 70 days.        THEREFOR IT IS FURTHER
20
     ORDERED that time be excluded pursuant to 18 U.S.C. § 3161
21
     (h)(7)(B)(iv) and Local Code T4 from the date of this order to
22
     January 14, 2011.
23

24

25   IT IS SO ORDERED.
     Dated:11/17/10
26                                           United States District Judge
27

28
                                         3
